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                      EXHIBIT C
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                                                           &t!tor trrrr &rtl!€




                                                                                                                JBnnnPYW,MBLcnnn
                                                                                                              470-419'6655 (direct)
                                                                                        Je- rcy.kielcher@Wj lsonqhgf ,qorq (e'mai l)

                                                                JanuarY 5,2018


                            PRIVILEGED AND CONFIDENTIAL CORRESPONDENCE

      VI.&FBH&n.qLrKXrKESS.an{.$1,$cTiio}{I$S'I                                         -l-t:
      Gitiers internstional * Attanta, LLC
                                                                       Officer
      Attn: Jim Howser, Senior Vice President and Chief Administrative
      1230 Peachtree Street NE, Promenade,  Suite 800
      Atlanta, GA 30309-3574
       J   im.Howser@colliers. com

                    Named Insured                Colliers International - Atlanta, LLC and Alexander Doitch
                    Matter:                      Mattress Firm, Inc. v, Bruce Levy, et aJ', In the District Court of
                                                 Harris County, Texas, 151't Judicial District, Cause No': 2017-
                                                 73r96
                     Issuing Co':                Maxum Insurance ComPanY
                     Policy No.:                 PFP-602391 5-02



       Dear Mr, Howser:

                Wilson Elser Moskowitz Edelman & Dicker LLP
                                                                     ("Wilson Elser") is coverage counsel
                                          ("Maxum")    in oonnection          the above referenced claim and
       for Maxum Indemnity bor,rpuny                                   -ryilh
                        ,,Lawsutt'1 nt"d'bv f4all.ress   Firm, Inc.   (o'Mattress   Firmn'), against colliers
       iswsuit (tho                                                        (o'Deitoh"), and other defendants,
       int*r,iutirl"al--Atranta , LLC (,,c;ilier$t), Arexander  Deitch
                                                            unlawtut    aets   by                       o$eJ
       $-;;;              Mattress Firm allcges.numorous
                       k""w,                                                .Colliel,,leitcf .lnd
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       ;;f";&;i";otving                a-nationwiaJuriuer,
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       tni*riio** arMattriis Fii*t **p*re, Iniightof the re-s.sntLarysuitfiledbj       Mat{resu.Firm,the
                                                                                         Lawsuli liled liy
       following correspondence serves'as a ReserJitlsn sf Right$ .by,lvlaxrrm l:or, the
       Mattress Firm.
                                                                           obligations to.Colliers under
              As we wilt explain below, Maxum will honor its defense
       rolicyNo" rrp-goxgt5-02 under a Reseffation     of Riglrts.  MTlm     reserves it$.,rights,lpwever,
                                                        o-oviug"   to colliers, as outl'ined in thls le'Her.
       to withdraw irs defe,l;;;nJ io ar.rine indemnity

                                                                            Georsia 30326' P 470.419,6650' 1470,419,6651
                   950 Easl Paces Ferry Road Suite # 2850 'Atlanta,
                                                                                                        City . Hartford ' Houston ' Kentucky' Lae Vegas
                                     .          Boston' Chicago .Dallas . Denvet. Edwardsville ' Garden
 Albany . Atlanta 'Austin ' Baltimors Beaumont'                               .                                    . san Diogo 'san Ftancisco ' stamford
                                        .                       .
                                                    New JetseY New orleans New York.        orlando ' Phlladelphia
London ' Los Angeles' Miami ' Michlgan Milwaukee '                      ,Wesl
                                                      .
                                                Virglnia Washlngton' DC             Beach'White Plains
                                                                                 Palm

                                                                 wils onelser,com


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                                      w Wt t Fp,t-tt. "H,k 5 H,R
                                                                         coverage' and therefore'
                      understanding that. Deitch has not dsmanded
At this time, it is our
                                         is afforded to Deitch at this time'
Maxum witl not uoor",' *rtJil;;;";tge

      Afieryouhavereviewedtlrisletter,ifyou-believe.thereisadditionalcvidenceor
                                                          this evidence or ittformation to the
                 *;-tl'f;;; ao "*,,si,tr, pl"lt"tolorward
infonnarion t'at you
undersigned. rn uaclii;;iil;;-oni
                                       tioir"t" contact me should vou have questions
re   gard i ;'g MaxutYr's cover:age pos   ition'

I.               THE CLAIM
                                                 Maroh 30, 20] 6o sent bMaJttess Firu to ccrlliers'
         we are in possession of,a letter-dated                                                 letter
r<rvi*i'g of a porenriai:ffi;ru;ili
                                         cnrii*u und requesting'execution of a titigation hnld
in exchange for its ;;;;;;"; in fiting uuir.
                                                    *.r t*u*r *i*o rescinded Deireh's authority toto
                                                                                         Colliers
repre$ont Manress F;;l;';;y          oneritq-matters' This.letter atso instruoted                   2'
                                                                                  dated  Feliruaty
suecessfully comptere'a'coi*ut ir**t;ioi
                                                as oont"mplated by.an  agreement

2016. This turr*', *t
                                            fittt-nutitt of uny claim' w8$ not provided to
                                iltruffiiil;ii*                                              Maxum

until June 29,2A17.

           MattressFinnnubsequent.lyrransnriuedadrnf.tcornplainttoColliers-ortJuly13,20l?'
 Tbis unfited pleading il#               ;;;{* ol **i"i-s":;*:ttals for d;**to*nrl               vicarious liabilitv
                                                                                              violate RICO; fraud'
                                              air*rtty* bsttl uidet   nfeCI'  cotrspir*cy
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 aiding an<t nberrirrg",iri
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                                                        *ri. In:irri arafr compraint, Ma*ress Firm arsn:sougrrr
                                                                                                             are not
                                                         tiust and unjust enrichment' These allegations
 cq'it'ble rei'eeiies *o;,#; a cons*uctioe                      *f'tift'rending "professional serYiees;" rather'
  iust .actual or allegcil ucgligcrrt o"r, "o,o*itttJ
                                                         conduct.
 i i,i;"'r ri'.] *i nct ail eg*rio-n s-io r i *tcnri.nul
                          f




II.                &LLEGATIONSIN{\MIINDaDC0MPLAIIYI
                                                                                                       Texas,
                                                                 a {brmal Complaint in Flarris County,
             on ootober 30,2017, Mnttress Firm filed                                                 btrt
                                               trtt i"*iuit leajlllnumerous clefendants' incltrding
     Casc No.r Z1i'-ITligi, *'hil,fi,iniliated                                                     filed
                                                            rd egt?" an Amencl-ed Cbmpl*int was
     not timitert to cotti*r*"iri'ii-it-r1. .q".n***t-t
     againsr nufnerous        d;iffi;qFii"oine.}-i   *;li;'nri lo cb[i"rs'n'rd n*itth' wc understand
                                          a summons,and the Amended
                                                                    complaint'
     rhar collibrs rias beb;leived ryirtr




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                                              -qwwjtsgll,"H,l'.;,*E"8,
                                                   advising and negotiating new leases and
                                                                                           l{iafe renewals on
                             "fE' and
   and brokering R.ew sito location*                                            and Deitch to provide
                                                              Firri t"fJJ ftt*ily-on Collicrs
   behalf nf Mattrexs ftt*.        fta"iless
                                                                     what         to sign' the terms of
   evaluations una
                                       u, to wfricfr sio"' to opln'        leases
                    '""o*rrn[ti*,                                   to renew' and  what stores to close'
                                          to approve, what stores
   those leases, the construction budgets                         influence  and  authority in deciding
                                                      significant
   Id., at tf 5. Colliers ffi;;ft-h;it" i**ti,iut6 inJluding rents' construotion budgets' and lease
   which developers * r"i.rf uod'the lease
                                              t"t*t,
    durations.
                                                     allegations. against colliers and Deitch
                                                                                              entailing
           Mattress Firm has also made numerous                      to:
                                           including but not limited
    fraudutent and self.serving *'iuiti"',
                                                                          (including offerirrg' arranging' and
                       r       Deltph and €olliers providing P?{Ts"Jt two scnior employees of Mattres*
                                                             [iofUa"f.t.t-n
                               making ii,V"iili;q ttiU*rin?                                               thoir
                               Firm in oxchange   ru. ot.iiinn of c.olliers and Deitch and growiRg
                               relationshiP' $"' at lf 7'a'

                       r                                         faiscly op'tirnistio sal{:s forecasts to maximize
                               Deitch and Oqlliers providing:                                      least tsrms to so'
                               opuoine*g;.$Or-,         irliid- aUove-nral^11rentg andforlonger
                                                                                              each lease entercd into
                                                 ""a:i-           ge.nerate commission
                               defen-dint developers in order io
                                                                      prop.nv- value for subsequent sale of the
                               by dil;r-'Fiil ;J t" i";;;                   at 7'b'
                               ptop"ny'iy tntiiitt owned by Deitoh' Id'' fl
                                                                   ptojected per store sales' lgl'
                       *       Deitch and Colliers misrepresenting

                       .Engaginginconflictofinteresttransactions,includingDeitchowningand
                                                                    stores leasedlo Mattress Firm' and
                          CoffiJJ"t^ff"*;;;;i*"h to--o*tn numerous
                                                             ';n- r. Mutt,ttt Firm's stores were to be
                                Deitch secretly purchasing, o*6;-
                                locatedandassigr'ri*gthesepr",pe*i"stoco-defendantdeveloperswhoimposed
                                                                             than Nlattress Firm's polioies' I{'' at l[tf
                                above-market rerrrt,an* ru*u ili."rir"ronger
                                8,9,76'
                                                    rfphony" and o'bogusl' $50'000'00 development feer arid
                           r    ileitch qhalging
                                                                     cJifit* knowing of and altowing such fees' !{"
                                brokerage fegs to developers
                                                                    ""4
                                attl   10.

                                                                     hold inte,rests in             properties that wotlld heenme
                           o                                     -Ciriir"
                                Co,irrs fillowing Dsitah io secre(ly
                                                                          e,npl,:ye,es tnowing of Deitch's $*tion$
                                                gl*res; mrrtiprr
                                                                       paying very little attention t0 Deitch's
                                Mnttr-e.*s,Fiun
                                and assisting himl una'6otti.rs                           of the fraud' Id', at x'1J 10
                                irnproprieries because      cslli;;;;;-*       iii.t-rr*"ufi"iutv
                                 and I   i'
                                                                 . Atlanta,          30326 .    470.419.6650, f 470.419,6651
                 950 East Paces                Road Suite                                                                                . Las Vegas
                                                                                            . Garden CitY' Hartford ' Houston ' KentuckY
                                 . Beaumont . Boston. Chicago .Dallas . Denver Edwardsville
 Albany . Atlanla'Austln '                                                                                                   San Franclsco' Stamford
                                     .Milwaukes . New JorseY' New Orloans ' New
                                                                                  York' Odando ' Phlladelphla ' San Diego'
London' Los Angeles' Mlaml' Mlchigen                                  ,West Palm Bsach 'Whlte   Plains
                                            Virginia' Washington' DC
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                                                        \y"lt5g,l_*l.,tL.s-.g,R
                                          -qffi
                        o                                                   aotivities' Id', at tl t6'
                             Deitch and Colliers concealing such fraudulent

                        rDeitchadmittingtoprovidingbribes-andholdingequityinterestsinotherbusiness
                           ventures with participating Mattress
                                                                Firm employees' Id'' at 'l[ l9'

                                                                           detailed budgets to Mattress Firm in
                        r    Deitch directing developers to not provide
                             order to hide hii'den feei or kickbacks'
                                                                      Id" at fl l9'

                                                                                                                           by    co-defendant
                        "-   Dei&h beirrg offered luetative investment otpportunities
                             I*o*].prr, *,r? U.G "ngaged in commercial bribory, Id., 1169.d.
                                                                                    at


                        r                                                      to Deitch, including expressly and
                             cnlliers providing authoriry and ratification
                                                                       his actions, providing apparont authority to
                             f,ully authsri"he b*it*l.r to unde*ake
                             Deitgh Uy r.nuirig;;;;iitt"t ntit.t''
                                                                            to hold himpelf out as holding.such
                             authority, ratirying''ilr; il;;" and representations
                                                                                           of Deitch' or implicitly
                             ratifying trre aoiiorrl and representations
                                                                         of Deitch.  Id., at ll 143-146,

                 MattressFirmbringssevencausesofactionagainstbothcolliersandDeitch'including:
                                                                   and     to Mattress Si*n,
                        Fraud..making rnaterial miurepresentaiions




                              develoPments'

                                                                              unlawfully conspiring,-cornbining,
                  2.          Civil Cortspiracy _ knowingly, willfully, and
                                                                     to defraud Mattress Firm out of millions of
                              confederating, .'"a .gr..inf togerher
                                                                          through materially false and inaccurate
                              dollars in excess renft and bth*, ,*p"nses
                                          ,"d;;;; ,oprountotlon*, *nd by       hiding kickbaclcs nnd oiher cssts
                               r:eal eetate
                                                                      ioare o*p*n*ui; a$f*etl to assist,advanqe,
                               thpt seryed r- ilir;;.Mrii1*ru 5'116:9
                                                                       objeatives includitig:hy'p*rtioipating in the
                               and.fuirhcr th-';;;;il;'s uof o*fui
                               kickback scheme'

                  3'ConstructiyeTrust-appropriatingfundstowlrichtheyarenotentitledthereby
                                                           er,tered to oonvey the fruits of wrongful
                        requiring u run*tro.tiuTtr*t to bJ

                                                                                      . p 470,419,6 650. f 470,419,6651
                                                    2850 .Atlanta, Georgia 30326
                  950 East Paces Ferry Road Suite #                                                          .       .                              Las Vegas
                                                        .Dallas , Denver Edwardsville . Garden CltY' Hartford Houston KenluckY '
                                       . Beaumont' Boston' Chlcago
 Albany . Atlanta 'Austin 'Baltimoro                                                                 . Philadelphia   '   San Diego'San Ftanclsco   '   Slamford
                                  Michigan
                                           . Milwaukee' New JerseY ' New Orleans ' New York 'Orlando
London '  Los Angeles  ' Mlami  '                                        DC       Pelm Beach 'Whito Plains
                                                  Virg inla 'Washington,    'West
                                                                  wllsonelser'com

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                                                   \ffi               w"l   L   sp     t$. "H.[.8 "F.R
                                                                                         and other illegal
                             conduct, including fraud, abuse of fiduoiary relationships,
                             conduct'

               4,             Unjust Enrichment    unjust and inequitable receipt and retention of multiple non-
                                                                  -
                                                                                      conrnrissions snd above*
                              gratuitous paymeHm froin Mattress Firn in ths foffii of
                                                                                                            thst
                              marker,;#il;;"hange for kickbacks with f$11 knowledge and awareness   entitling
                              na"ttr.r#ii* woufa nit receive theexpected and represented value,
                              Mattress Firm of disgorgement and restitution'

                                                                                            encouraging' aiding'
               5.             Aiding and Abetting Breach of Fiduciary Duty - soliciting,
                                                                                   qf.Matffess Firm's employees
                              uUetting-;ni ptoui6ing.*bstnntial assistancs to two
                                                           duties to Mattress Firm and illegally capitalizing on
                              in ur"arting i1tri.na'ftlury
                              their positions for personal gain'

                6,Negligenea{Collie.rsonly)-braaahingdutytoexerciseordinarycareinthe
                              selecliono supervisiotl' and reteRtiotr of Deitch'

                                                                           malice which entitles Mattress
                7.            Exemplary Damages - acting with fraud and/or
                              Firm to exemPlarY damages'

                CLAIMS ${ADE AND RIIPOTTOD POLICY }IUMBSR
                                                          PFP-602'I8O?*03
      III.
                                                     (the "Policy") is a 'ro{oims lac!-111ct repoded"
                Maxum Folicy Nurnber PFF.60239lS.02,
      policy rhat iniriatly t,xure;                      L,Jlk; lrom            Jtn,i.11  l,
                                                                                   1' 2016' Colllens
                                                                                           2.01-5i to January'
                                                                                pedod through February l'2017 '
      i"r"i"t*J " 'oppru**oioi"Jxrendod"rep0r''{ing
      Policv
                                                     Coverage pursuant to form P056 (08/11) which
             The policy affords Errors and omissions
      provides, in Part, as follows:

       SECTION             I _ COWRAGE

                 l.        Insuring Agreement
                                                                       ,,insured,' beconrcs legally obligulcd lo
                        A,            will pay th()se surns t|tat att
                                                  We
                                                  tWrongptt Qct" in the rende:ring of or failure to render
      pay il$      ,,dnntagos"  ;;;";;; i! a:  -;;nii.l{
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      ,;;;;;;-t,;
       ,,trt:s!$ed,, ":iii,';{oii""'iriir;' iuiktng "d'inages" .for d "wrongful           to which this insurance
                            ilE{tinst
                                                                . Atlanta, Georgia 30326 . p 470.419'6650'f 470.419.6651
                  950 East Paces Ferry Road Suite # 2850
                                                                       .                     . Garden Clty' Hailford . Houslon . Kontucky 'Las Vegas
                                    .          Boston' Chlcago ,Dallas Denver' Edwardsvlllo
Albany . Atlanta. Auslin ' Baltlmoro Beaumont'                                           orlando ' Phlladelphla ' $an Diego. San Franclsco' Stamford
                                       .           New Jersey . New Orleans ' New Yodt'
                                                  Milwaukee   '
London . Los Angeles   '   Miaml   '   Mlchigan
                                                                                           Beach'White Plalns
                                                       Virglnia 'Washlngton, DC. West Palm
                                                                            wilson elser.com

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                                         \w           w"l t        sg       J*'l, *F.      I s "H. R
    doesnotapply.|ltemqy,atourdiscretion,investigateanyeT,rororomissionandsettleany
    "claim" oi
               i'iuit" that may result' But:

           (I) The amount we will pay for
                                             ,,damages,, is limited as descrtbed in SECTI0N III                                          -
    LIMIftS'OF INSARANCE; and
               (2)Ourrightandduty-;.todefendendwhenwehave'useduptheapplicableL;;initof
                                                   undur this poticy and/ai iw the paynent of
    -iui,
    Insurance       in the payment of iadgmentl
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            urau yaPPilEMENTA RY PAYMENTS'
                               or liabtlity ta !l!y suttls-!'.1:-'n:\ltts                           or sewices is covered unless
               No other. o,hftgsrion
    ,*pt t, iii piotdii 6t ooi* S UpP LE ttfi
                                              ENTARY PAYMENTS'

                                                                without the "insured's"                              written consent'
              The eompany shatl not ,set$e any "€laim"
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     ,,elatm,,,. the., ,the Cornpon9ta,w_*lyo*,tiiiiitt1 inof be'ttmited
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     ,tclaitn!, co*ld kwe inl{riuri,Includtng
                                              omouiii sie subleit ta
                                                                     'the provlsions;of SECTION III                                        *
     dare af tlte "rutf;edos" i1&sol, Surn
     ,EIM,ITS      0F IN#U&AN{E'
                B.           This insurance aPPlies onlY if:

              (1)The,,,rlamages,,arecausedbya,'wrongfulact''thattakesplaceinthe,,coverage
      terrilory";and
                 (2)The,'tyt.ong|ilact,,^didnSl.occufbeforetheRetrooctiveDate,,fany,showninthe
      n"ruiioi, or gpariht end of the policy period; and
                                                          the y.7nfering af ar ftllye to tender
           (3) A "a,lriih" for - "rlamages" beeause of
       ,,professional        ,u*irur,,'ir'ltrrt  iit ';instt"d", in.accordance iith paragraph C'
                                                    maf,e
                                              "g.iiiii                               iiv   lwiendbd RApor'W Pefiad we pr'qvide
      belo6, and,,regtorfed to us dxtlng &e fottci'pa'iiA                       'i
      as deJi:ned in SECTION V'

                  (4)The,,claim,,isrepartedtousassoonaspraclicableafterthenoticetoany
       "inslted",

            C,A,,claint,,byaperso,lororganizationseeking,.damages,,u,illbedeemedto
       havebeenmadeattheearlirofthefollowingtimes:

               (1)Whennoticeofsuch,,claim,,isreceivedbyany''insured,'orbyus,whichevercomes
      first; or
                                                                .             f 470.41 9,6651      470.4 1 9,6650.
                                                  Suite # 2850 . Ail
                                                                                           30326
                 950 East Paces
                                                                                                        Clty. Hartford Houston 'Kenlucky 'Las Vegas
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                         .                     . Boston' Chicago'Dallas . Denver. Edwardsville' Gardsn
 Albany , Atlanla 'Austln Balttmore'Beaumont                                    .                    Phlladelphla ' San Diego. San Francisco'
                                                                                                                                              Stamford
                                       . Mllwaukee ' New JerseY . New Orleans New York. Odando '
London . Los Angeles' Miaml ' Mlchlgan                                     West Palm Beach' Whlte Plains
                                               Vlrglnl a . Washlngton' DC.
                                                                wilsonelser'com

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                                                       wJ t Fp" J:l..F.h.E H.R
               (2)Whenwemakesettlementinaccordancewithparagraphl'A'above'

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          ,twrongful acr,,-ii ,i'irrlfi, of ,ut.trriilrriro,rryfitl acts",. shail
   single
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   dartng the palicyperio7' oi fiiunaei                                              were  frst made' and all
   af or resutting {ranr       'i.ri,,irt oyir",.ofoioiii 'vrongfol
                                  iirt'                                       acts''
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   iuch ,,clnims,, shall be sabject to the .Lintit
                                                   ,f],i7intt tioffa      tu  the   Dectraiations

   iiitniiptits to such earliest "claim"'
               2, Exclusions

     This insurance does not nPPIY
                                   to:

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                          A,    "'Borlily injury""'propevb' dayzlee'^l    ,,"Personal/advertiiing
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                in   this pttliq',
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    rlelincd'
    iiit,ii'   ,r ,'tndit     "praJessiona| ";ervices"          '



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                                    of any "insured"
      "insured" or at the iirection
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                                     liabtlilll of others assumer!. by an
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                           C,   ThE
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                                 such t-iabillty would tou,
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     agreement, unless
     such agreement'
                                                                                                         in
                                                                    or.g$aral1tue' or btAach of conlract
                           D. Any "clttirn" based'jtpon a Y!$rranty
                           orru'*rni'i['i"'f'o;; "p;;ftr;i*nt t"it"s'rfar
                                                                           aspee{iedfee'
      respect of any



                            F.AnybusinessenterprisenotnamedintheDeclarations,whichisowned,
                                       by any " insured"'
      controlled, opirate d br managed



                    o,Any,,claim,,ol,,sltll,,demandingpunitive,exentplatyornrultiple,,d,AmQgcS,,
                                                    where insurable by law'
       ("damages" o, o *'nn' ]pitnr'|hment)' except




                                                               .                                          .41           f 470.419,6651
                 950 East Paces              Road Suite # 2850                                                                                       Las Vegas
                                                                                   . Edwardsvllle' Garden Clty. Hartlord ' Houslon' KentuckY '
                                     . Beaumont' Boston' Chlcago'Dallas' Denver                                                         San Franclsco '$tamford
 AlbanY' Allanta 'Auslln ' Balllmore                  .            , New Orleans  '
                                                                                  New   York ' Orlando ' Phlladelphia ' San Diego   '
         Los Angeles . Mlaml . Mlchigan . Milwaukee New JgrseY            .                   . While Plains
London '                                                                    Wesl Palm  Beach
                                                Virginia 'Washington, DC
                                                                    wilsone lser.com

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                                         \kwit5gs,t.HhsF.R
   SECTION          II.WHO         IS AN INSURED

                                                  as:
   1,   If you are designated in the Declarations
                                                                   or domestic patlner 'are "insureds"' but only with
               A, An individuatr, you and.your               8p9u!e

    respect to the conduet          of'Snir    business     o|*hi'hyou are the rcle own*r;

               B.Apartnershiporj.ointvgfi:ilre,.wuat'e.frn,'t.ilsurod,,,Yourmembers,yoilrpilrlners'
                                 ,iiirrrd$,ll, but- *nlL with resptrt lo the' condact olyour bwinessi
    and their spouses         oru'iri
                t. A limiled liability aompgfty, y\il' are an " insured" ' Y'aur m\mbers are al'sa " insureds " '
                                                                     your,mafJagers Qre- "in$ursds", but only
    but onrywith respe"t"io'ii, ii,iiuil-i\,you,
                                                                       business,
    with rispect to their duties as your managers;
                                                             a partnership, i,9iryt   ventule or llmiled liability company,
                D, An. organizat,|an other than
    'rcsDect                                                                                       Yoar stockholders are also
                 lo thcir cluties $s yott'' "exvnl.llw'igi'u'i"
                                                                     or
                                                                        .dh'cclars'
                                                                   stackhokl$s,
                     i,,r iiy,iiiii iipur,  to r:heir tiability as

    "iilir",irui,J,
                                         " insured" :
     2. Each of the foltowing is also an
                                                                                ,,exectiive offieers', ar cther offiaers:.({you
                             .,employees,,,
                                         other than either              yo1lr
               A. Your                                                       limitAd fiabili$t cttmp*ny] ar yo*r
     .qre.frrr a gunization  oii"r  rh"n   n y,r.tyunif,1oint.'n-n'*e or
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     Named
                                        the Named Insured'
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                C.Anypasl,preEentdrfutureoJJicer'tilrector'partner'stockholder'membef'manager'
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                                                                         for "pto'f'es:sionul services"
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        petfit mert witttitt the  itij*'niiit-ltiii ai'tiW:tlofina'or aiv Adttitiunal
                                     {;i;i
        in the Decl'arations.
                                                          pilp-::                                custodY   ofYour ProPcrtY ifYou
                D. Any person or organization huving              ^!::'!::::?
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        die, but ontlyl,itil your legal represenlative

                  E, your                     yoy die, bwr anly wit]t re{peet to duties as such' That
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                  950 East Paces           Road $uite #
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                                                              .Dallas Denver. Edwardsvllle
                                   .          Boston' Chlcago
Albany ,Atlanta. Austin ' Baltlmore Beaumont'                             . New York ' Orlando ' Philadelphla '   San Dl6go . San Franclsco' Stamford
                                      .           New JerseY' Nsw orleans
London' Los   Angeles' Miami' Michlgan Mllwaukee ' .              DC'West Palm Beach' White Plains
                                              Virginia   Weshington,
                                                                 wilsonelser.com

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                                             kMt$,p"N."F.[sF.R
   SECTION             III - LIMITS        OF INSUMNCE
                                                                                the most we pay
                                    in the Declarations and lhe rules below Jix
   1, The Limits of Insurance shown
   regardless of the number                of

               A. "Insureds",

               B. "Claims"            made   or "sltlls" brought; or
                                                                     or bringing "sl'tits"'
                C.      Persons     or organizations making "claims"
                                                                           ,,damages,' and ,'claim
                                is t\e.ma!,yg   y,ill pay.for..the sum of
    2..The Each,Clain.Llmit
                                              any une " claim" '
     exwnses " arising oulaf or resultingfram

                                     most we will paS'for lhe sum of
                                                                       all "damages" and "claim
    3.T'he Aggfegatt' Limit is the
                   ;             "&tsll!ts" firs t made
                                                        duting the PolicY Period'
     expensrt          ]or   "




     The Lint{ts


                                                          {gse,
                                                  af dttetmtnfng.      tlie Limils    o.f   Insilrdnce


     SECTION IV_CONDITIONS


                                                                Claim or Suil
      2, Dulles        In the Evenl of an Acl, Errol, Qmisslon,

                 A,      Notice of     an "incident" is notice of a "claim"'

              B,Youmustnotiflusassoonaspracticableofan,,incident,'involvlngtherenderingof
                                                  ihich" may result in a "claim"' To the
                                                                                         extent
      ar fal'lwe to rendet 'pr'afeisional
                                          ""i"iil
                        notice should lnaluda:
      ioisiite,
                                                                                      or    omi'ssion took place;
                                  (l) How,   when and where the ctc[' error

                          (2)Thenamesandaddressesofthepotentialclaimantsandotherpartieshaving
                   relevant lmowledge of it; and

                                  (3) The amount of potential "damages"'
                                                                                  .                   470 .41 9.6650. f 470.41 9,6651
                                                  # 2850 . Atlanta, Georgia 30326                 P
                  950 East Paces Ferry Road Suite                                                                                  .
                                                                                                                Hartford' Houslon Kenlucky'Las Vegas
                                                                       .    Denver Edwardsville'Gardsn Clty,
                . Austin' Baltimore . Bsaurilont' Boston' Chicago'Dallas'                                                 Dlego . San Franclsco' Stamford
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                                        . Mllwaukee' New JerseY . New Orleans '
London'Los Angeles 'Miami 'Michlgan                      . Washington, DC . West Palm Bsach. Whlte Plains
                                                Virginia
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           C.Ifa,,cl6lm,,isrecuivedbyany,,.iftsured,,,yournustimnediattly.recordthespecifics
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                                                                                          soon ss
   of rhe
   practicable,
                                             "insured" must:
               D. You and any other involved
                                                                demands' notices' sumrnonses or legal
                      (1) Immedi*tety senlus..capies of any
   papers      receivedin               lhe "claiffi" or "sttit";
                               "'i"iton'with
                                                            and other information;
                         (2) Authorize us to obtain records

                  (3)Cooperatewilhusintheinvestigationorsettlementofthe.,claim,,ordefense
    against the "suit"; and

                    (4)Assistus,uponourrequesl,intheenforcemento!any'rightagalnstanyperson  wht& this
     ar ort$hizari.onwhich may bi liable
                                         to ant'"i:,;;;''''U;'iiiii'o o,iniuiv oi dainge io
     insaritnce maY, also frPPtY'
                                                                                                  a payment'
                          ,,insured,, will, except al that "insured's" own cost, voluntarily make
                E, No
     assumeanyobligationorincuranyexpense,otherthanforJirstaid,withoutoufconsent.



     1. Olher Insutanee
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       unless such other insurance'




       7.   Se'Paratlon of Insureds

                                    to the Limtts of Insu1\rye *d 1u!-ri'glts
                                                                                 or duties specifically
                  Except w.ilh respect
                                        w"tmed Insired, this insurance apptrles:
       assigned inthfs palicyi["rn'rirn
                                              were the only Named Insured; and
                  A, As if each Named Insured
                                                                                        30326'     470.419.6650. f 470,419,6051
                  950 East Paces             Road Suite # 2850. Atlanta'
                                                                                                                        Houston . KentuckY ' Las Vegas
                                                                                                  Garden CltY ' Hartford '
                                                                   .Dallas ' Donvar'
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 Albany , Atlanta 'Auslin ' Baltimors '                                                 York.Orlando' Phlladelphia ' San Dlego 'San
                                                                                                                                    Francisco
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                                 Michlgan ,Mllwaukee'New                   , West Palm Beach .White Plains
London . Los Angoles' Miami '                            .             DC
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                                            qKw.ttFgN.F"hsH.R
                                                                                                    ,,Suit,,
                                                                                     iS made   or              is brought'
                B, Separately to each',insured,' againstwhom,,claim',
                                  PERIOD
    SECTION V. EXTBNDED REPORTING
                                                                                 {Jnder this provision' "tl6tfi's"
    1, Basic Extended       Reporting Period is automatically provided'
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   .lit.st t,wde ugainst the' Nantid                           to r1s.aficr 1le i'! of   the patias'p'eriod vill be
      ct{lar the antl ol'the ltolicl'perlatl ctnd repo'ti't'l
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                                                                                 any  subseguent     insuranee you
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     parahase,    or thut *rilia
    to such "claim",

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    2, |ltts4ltenteltal Extendcd Reporting PTlott "t1
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    ntlditional ltt.emiunt ,,rA tio oky be lurchwetl
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    pefiotl $f   I?, 2J, ,,";;';;';:;iu' 'lctii"r',':"1ii*'t nuti*-aspill:t
                                                                  Rafot'ring  f*iod tuu! relxtrted to us will ba
     Dectertttiott ou* o,,,:ig'iii'Si,g,p4i,i,ilnlot,iitu,,aud
     deemed ta have tuu*'inoiie-ii'tne tryt
                                                    aet il th* poticy iur wiu. be subJtc to tlrc Li*it of
     iiiirortt          set forth in    paragraph C' below'
                                                                                                            Repartlng
                 A.     You nust give as a           written   requcsl' to purckase a Supplemenlal Extended
                                                                          the Declarction page aJ,he'
     periarl tvithin i0 daysqfter tkt'wir*ttro iiin$i'itucy y,slat,erl'on
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     ttottctr, Tha sEtpteini,lii'6u,i4id         ifr' 3o   of the expiration dute of the policy'
     ctdcltr.ional pt,urriuu,      i,,liilitl     ii:irt,Asi *ttt           'lu1't
                                                                 .abrive, we will issue the Supplemental Sxtendpd
                  B, If yau couply'wirh paragraph B;                                                   af Liabiliyu" Qur
     Repofting perto.d           niioi"ui"ni         wn$n ioes nat,re.instate or increase the .Lirnits
                                                                       Period witt be  part of and   not in addition to'
     Ltmir.r af Liabitity ;;;;^";';;;"ft;;rr;;i'naparttng
                                                              a ti oh s ;
     t nit ti iii, t of ua6 t
                              t t r1t s how n-in t hs D ealar



                                                            for Ihe sup,pleme.ntal Extended Reporting"
             c, we will deterntine the additional p,en,lymaid  rctres. Tie {tctditional prenrium wilI nst
     periorr &ndorsemen;';;';;;*;;;;; i:m iti ,ote
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     exeeed lvaetfor i';;;'h;'TS'oni;|4:*iiintrir
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     ,r**i-i-rrtToi*             iin,




Albany
London




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                                  \w yt'j t Fg l_\t,.f [.EF.B
                                                                                 Period, You may
                     4, We witl aulomatically provide a Basic Extended Reporting
                                                  if this insurance is"
purchase a supplemental Extended Reporting Period


                                                no*enewed bv either vou or the companvfor anv reason
other than        ror,oor^ul,   #fr:::nlor
                                                                             has a Reftoactive
                      B. Renewed or replaced by us with other insurance that
Date later than the Retroactive Date shown; or

                                  Renewed or replaced by us with other insurance
                                                                                 that does not apply on
                             c,
a claims-made basis,

                     5.
oecar befor* the
pr;lfqt petiorl or
 If.slu'$nce


 Extended                  Period.

 SECTION VII _ INNOCENT INSARED PROVISION
                                                                                             or lost"
 j,         lv.henever coverdge under this insurance
                                                     would be excluded, suspended

                                                            sg g'7i'ilinal, drillaylsl, fraudulent,,or.m+ltgious
            A,        Beeaufte. af any exclusion re.l'ating
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                 'Bec-suse of noncompliance with any        ^^-);tin- notn      la l-he qiu.ing of
            8.                                                        defaalt solely             because of :thc
 the coimpany  win ,ewelt ;;;irri, an;t other "insured" shart be in more " insureds"                responsible
                                           of suc-h fnilure by one or
 failure to givesuch rftion o, coneealment
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                                          \k Yy"ltt"gN..HLsF,B
                                                promptly after obtaining knowledge of                                               the   failure of
    section shall r:amply with saclt condilipn
    a:ny other "insure7" Io comply thereu'iflt'

                                                               obtigation to pay tn such'event shall he in
    2,        Witll respect lo rhis provision, lhe fomplny,s
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              of the, daductinti"n*i in *rui, a{t\e fult
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     excess
     the   exclasion applies.r-In:        i'ir*t:
                                            inoil rhr" io*pany'i    obiig*tion
    Liabitity staled in the Declarations'

     ENDORSEIYIENTS
                                                          dnd Addtllonal Exelusions 8064
               Real Estate Agents and Brokers Endorsement
               (1/I/2009)

                          Thisinsurancedoesnotapplyto,norshallwehavethedutytodefendor
                                                   ,,iiii,, arising aut of or resultingfrom:
                          irar*nii iny ,,claim" o,
                                                                                                   is not legally
                                     1,        Arry gain, profit or advantage to which the insured
                                               entitled.

                                                                                                 {nsured lwr y, direrct' or lndlreqt'
                                     ;.        ' ilnv tt"ttns*elion, l,t $liich ctity
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                                                 has entered into a writlsn aonlr{tst                     io   ,sell  not   latsr  then
                                                               sixty'five      days   (j65)   days  after    taking     legal title'
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                                                                                           by a firm in which any
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                                                lulontryement af pt'apt:rty that is owned
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                                                                            interest or by a Jirm under the same
                                                                         as   your business'
                                               fnancial control


                 RealEstaleProperlyManagersAdtlilionatExclusionsE06T(I/I/2009)

                             This insuranee does not apply to,'nor
                                                                                         shall we have lhe duty to defend or
                                                                 of or re'sultingfrom:
                            indemnify any "claim" or "sitit" out

                                      ]'Arrygain,praftoradvantagetowhichtheinsuredisnotlegally
                                                entitled,

                                                      tansaction in which any Insured has a direct
                                                                                                           or indirect
                                      ;.        Any
                                                ';;;"fr;;t';;rership int;,rest as a b'uyer or selleT         prbperty;
                                                                                                     'aJveal
                                                             ,                          30326 .      4V0.4 I 9.6650. f 470,41 9,6651
                 950 East Paces F          Road Suiie # 2850
                                                                                                 . Garden   Clt11' Hartford
                                                                                                                              .   Houslon . Kentucky 'Las Vegas
                                     . Beaumont' Eoston' Chlcago'Dallas' Denver'
 Albany . Atlanla' Austin' Baltimore                                                     ,                                 San Dlego' San Franclsco 'Etamlord
                                         . Mltwaukee' New JerseY ' New Otleans ' New York Orlando'
                                                                                                   Phlladslphla        '
London ' Los Angeles' Mlaml ' Mlchlgan                  .            DC . West Palm Beach'White Plains
                                                Vlrglnla Washlngton,
                                                                 wilsone lser.com

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                                                howeyer", this exclusibn does nol appty
                                                                                                        to rsal pro.perty to whiclt
                                                ii-rnir"a     has ta*eln l,Bgat nuialety     for inmedlate resale ffitl
                                                                    q  v,r.inin co,lltacl to  sell not lal,er then three
                                                 has entered into
                                                'ir:nire,d
                                                           s*ty'five days (365)  days after taking  legal title'

                                                             af ptopet$t rhat is owned by a frm in which
                                                                                                           any
                                    6.          Matrtrglment
                                                ';;;;,;A                                              the
                                                              ;;' iiii't
                                                                   i'*iit tnterest or bv a Jirm under     same

                                                                          as   your business'
                                                Jinancial control


                                                       8050 6n/2009)
              Mortgage Brokers Adtlltlttnal Exclasions

                            Thisinsurancedoesnotapplyto,norshallwehavethedutylodefendor
                            indemntfl ony
                                          i"tiii;' o;'";ilft" arising out of or resulting'from:
                                     I'Servlcesperformedforpropertiesthatareowned,developedor
                                                 built   bY


                                                 L            anY insured;

                                                                                                               or
                                                 2,           afirm inwhich any insured hasfinancial interest;
                                                                                                control as the insured's
                                                 i.           a   firm under the same flnancial
                                                              business.

                                                                                                   interest as a
                                                 Anv lransaclion in which any lnsured has fnancial
                                                                                         a
                                      2.
                                                 biyer or selle.r of real ProPertY'



                AssetManagersAdditlonalExclusionsEglT(3/1/2011)

                             Thisinsurancedoesnotapplyto,norshallwehavethedutytodefendor
                             indemnify    "-;';'" ori'suit" arising out of or resultingfrom:
                                           an,

                                         S.Anytransactioninwhicharytinsuredhasafnancialinterestasa
                                                  buyei or sellet.
                                         ';0.                                            the insured is not legally
                                                  Any gain, proJit or advantage to which
                                                  entitled.

                                                                                                            9,0650. f 470.419.6651
                 950 Easl Paces Ferry Road $uite
                                                 # 2850 'Atlanta, Georgia 30326'                 P 47A.41
                                                                                                                                 .           Las Vegas
                                                                                                 Galden Clly' Hartford ' Houston KentuckY'
                                               .
                           Baltimore . Beaumont Boston'
                                                         Chlcago 'Dallas' Denver. Edwardsville '
Albany' Atlanta . Auslln'                                        .            . New York. Orlando'    PhlladelPhia
                                                                                                                   . San Dlago 'San Franclsco ' Stsmlord
                                         .            New Jersey New 0rleans
London. Los Angeles '   Mlaml ' Michlgan Mllwaukee '                    ,West Palm Beach'White Plalns
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                                                                                                   5.   R

    Iv.        ANAI'YS.[$

                    A. Xho is n* tps,Pred
                                                            this Reservalion of Rights to colliers only at
               with,respect to the Lawsuil, Maxum issues                                               the
    rhis rime because    n*itfr",            noit"tt Uav* i*qt'est*d coverage for Deitch' We reserve
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                                                 if Deitch requests soverage.
    ,igir, to arnend or supplemont this analysis

                        B. ]}sfv to Defrnll *ild         DufY rq In{'lcnrnifv




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                                                                          applies     to
                 ln tho rfialter at hand, the Policy
       pcrformgncc of real *r*rU'o.g""t, r*tl
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                                                                  servicing)' constt'ttction und p'oject
       Fro'erty  managemsnrffiil-,gr,U*to.,tit,"firrli'g'toan     Pnlicy Declaratidns and P056 t08lll)
       rl1{rnngcment $*ryrces
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       atSectionsl,t.n,Vffrii,rnJVfff.f5.tg..fswctr'tcbelow'{':ovurugurttaybcdeniedbecausc
                                                      that cause certain exclusions to be applied'
       thc Amended eomplaint                ,ift""-ttJt      -f legatioiu




                                                                                         30326 . p 470,41 9.6050.       t   470,41
                  950 East Paces F          Road Suite # 2850 'Atlanta,
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                        C'     f,,ir$t      Sliiln    Nofi$e lVos Outsidc Repnrti{rq-llerinil

              Before discussing possible exclusions, we first note
                                                                       a threshold issue with respect to
     Colliers, and Deitoh's d,ities under the reporting
                                                        period. Speci{ioallyo Maxum is not required to
                                                                        Cslliers nor Deitch reported any
     provide any covsrag* io Cotti.ts or Deitch bicause l.itL:l
                                                                   29,  ?0t?, Moxrrm receivpd a copy of
     clairn during the Supplemental Reporting-Period, On
                                                             June
     a letter dated Maroh lo-,i0t6, in which Mattress
                                                        Firm requested that collier* execute a litigation
                                                                in fiting suil, T'hi'! letter also. requested
     hold letter in exchange'for Mattress Firm's forbearance
                                                                              no 'longer be authorized to
     that Colliers ,take cartain actionsn including requiring. Deitch..to.
     feorc$ent Mattress eirm'ii   uny r"uttu,n nnd rtquiiing other collier's representatives to complete
     a pending trnnsaction so that it is noldisr'upted'




                                                     Road Suite # 2850 'Atlanta,                 30326 .              ,6650. f 470.419,6651
                  950 East Paces
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                                          qH
                                                        W"1;5#J-*1,.H,;SER
                       D. Exclusion$.

                           l,         Dishoncsf.     Fi{iltlultnt, Crlminnl or M{lllciorrs Act of                   Omissiorr


              The policy does not apply to "[a]ny dishonest, fraudulent,
                                                                           criminal or malioious act or
                                        ittr aireition of any "insured." P056   (08/11) at Section I.2.B'
      omission by any',insured'o.
                                     "t
      iAn inrurunce policy is simply a contract, the provisions of which    should  be construed as any
                                                                    contraot is a question of law for the
      other type of contract. fnr ioirt.uction of an unambiguous
                                                                                       contract  are clear
      court. And   in suoh a case,'[w]here the terms and conditions of an insurance
                                                                                              vl
      unJ unu*Uiguous, the' musi be given their literal meaning."'Fsdcralui.,Muat$l lns. S{t'
                                                                (internar citations omitted).
      ownusy Enft:prises^ t;e.. 627 S.E\dgr7,g21(Ga. App.2006)
                                                                              because the Amended
           With respect to Colliers, we believe that coverage may be excluded
      Complaint alleges ttrai Cottiers partioipated in the fraudulent
                                                                        and self-serving activities,
      including but not iiritrO to: alleged bribery and _ kickbacks;
                                                                                false sales forecasts;
                                                                Deitoh to engage in actions that are
      ;i.;;;;r".iation of projected per sfo.re sales; allowingwith the interests of Mattress Firm; and
      fraudulent, "phony" ulJi'Uoguti" and in direct oonflict
                 in g   the other tortfeasors' fraudu lent activities'
      "bnoeut
                                                                      excluded because the allegations
             With respect to Deitch, we believe that coverage may be                                                                                    ,]

      and counts in the AmenJ.J Cornptuint, with exception
                                                               to Count Six (Negligence of Colliers),
      revolve around tfre affejeJ nauOuient aotions of niitch'
                                                                Thus, a plain reading of the Amended
      Complaint in               *itft plain reading of this exclusion means that coverage should be
                    "on;unJ8"         "
      excluded as to Deitch.
                                                                            or malicious act or omission
              As such, wc bclicve that the "dishonest, fraudulent, criminal
       exclusion under Form
                              poso (oglt l) at section I.2.8 applies to the Lawsuit, and, therefore,
                                                                            whether the exclusion under
       Maxum reseryes its rights unier tt're Polioy in order to determine
                                                                   against Mattress Firm's Lawsuit'
       Form p056 (08/l l) at SEction L2.B may preclude coverage                                                                                          1




                            2



                 pursuant        to   Endorsement          E064 (llll20o9) ("Real Estate Agents and
                                                                                                 Brokers
                                                  the Policy  doe's not apply  to, nor does Maxum have a
       Endorsement and Additionoigxctusions"),
       JrtV i"J"f."d or indenrnify any claim or suit arising out of or resulting from:
                                                                                              entitled'
                  1.        Any gain, profit or advantage to which the insured is not legally
                                                                                                     ownership
                  5,        Any transaotion in which any Insured has a direct or indirect beneficial
                                                          of real property however,   this exclusion  does not
                            interesi as a buyer or sellei
                                                                 .          Georgia 30326 . p 470.41 9,6650' f 470,4 19,6651
                  950 East Paces Ferrv Road Suite # 2850 Atlanta,
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                          applytorealpropertytowhichanylnsuretllrastakenlegaltitlesolelyfor       later than three
                          i,i,l"!airr" ,"sui" ^nd ias entercd into a written contract to sell not
                          ilfu        sixty-frve days (365) days after taking legal tile'

                          Management of property that is. owned by
                                                                                           a firm in which any insuled has                  a
                6,
                                                                  same financiai contract as your bUsiness'
                          nnaorTrf interest'ot'Uy u ntt under the


                                                           are clear and unambiguous and' therefore'
             As noted above, hoWever, these exclusions
                                                  meanings..sfe fecl,egted MuiuaU.n* Sg" 627 S'E2A
     thss'.exolusions mu*t il git-" il-ft fiternl
                                                              basis that the m*jority af the allegatisns
     *t gz1. 1Ve believe th-t;;;;;-ie is exo_ludedinsn*the
                                                        one or mor6 sf these *xclusions, specifiually;
                                   rffi;;iG-f,irrt
     Lffi; c"ri.*'"iJc"ri,o*'anJ D*itrt,"*u;, *ittue e;dua"a becaurs trre Laivsuit.ariscs out of, gain,
     soysrage to both
     ffi,lT;    -i-""id,;*rri-lr?or1i.1* aoo Fsitch are npt regauv enrirlsd (ie. Exctusion l);
                                                          and indirect benefieiar ownership interests as a
      numerous,lrao*ao,,ror rn *ir,i.trbrit*t t uo airscr                       propertv-tlat is owned bv
      fiffiffi}]iil?ffi;;ii"rrr      fig. efctusion ii; and rnanasernent of(iiti' Exclusion 6)'
                    oorporit" lntiiiei in which he has'a finaneial interest
      one of Deitch,u

                                                                          Deitch may be ox{luded booause'
                With respeot to Exclusion l, coverflge to. Colliers.and
      the Lawsuit ense$iali; ;i;;          oi C.otti*tI and' Deitah improperly engaging.in fruu{t hribery'
                                                advantage to wl,ic6 th? *"t". n?t gltitlcd' \ith tespeet
      and kiokback to obtaii g.i", pt"n, and                        ,rtay b9. excluded'bsc*use tha. I;aweuit
      ro Exolusisn$, s *nd 6 ?;;;us" i., C-slliers arti'Deitsh
      ,ariscrs olt of'Dsitoh',* perfbrmalce ol transaJion* tt ut sre in direct *snfliot af
                                                                                              intsr€staggilq1
                                                          indirect beneficial ownership  interests  as a buyer
       Mattress Firrn,,in wf;oi Deitchhad direct,and                                             transactions,
      ,ar *elrer of real pr"p. ;;;     i"'*5i.t' colriers had knowredge but allswed        suoh
                                               ownerslrip of stones leasid to lvlattress Firm and D€itoh's
      d"ffit;il;r*i rr,iit"lf t", Deitclr'sMa{,tress    Firms were to be located.
       il;ffi.h;rr*orpropeuius *hur*
                                                                     trigger these exclusions' Maxum
                                  -tftu in the Amentled cornplaint
              since the allegations
                                         Policy i' order to deiermine whether these exolusions
                                                                                                under
       reserves its rigl*s urrfut
       ffi;ffi;      s?6g rilr/fidti              ;t
                                            &cluiJe coverage against Mattress
                                                                              Firm's Lawsuit.


                            3.
                                       Adtlitionll Ixclrrsions
                                                            ("Rcal Estate Property Managers Additional
             Fursuanr ro Endorsenrent E06? (1/1/2009)
       Exclusisns'l ,fr* p*iin!"*** -"i oppfy in, not
                                                         du* Maxum have a duty to defend or indemnit!.
                                                      from:
       ;t;iil;i*uit     [arising] our of or resulting

                     l.Anygain,profitoradvantagetowhichtheinsuredisnotlegallyentitled.

                                                   2850 . Atlanta, Georg ia 30326              'P   470.419 ,6650. f 470,419.6651
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                                           \w           Yy"t      t ssnrt"F" h.$,"8 4
                5.        Any transaction in which any Insured has, a'direct or indireot beneficial ownership
                                                                                                         dses uOt
                          interest as a buyer or sellei of real pfop€fity hOwevet, 'this exclusion
                          apply to real pioperty to which any Insured har taken          legal   title  *olely for
                                                                                             not  later than three
                          irnrnediate ,.rui" nod has entered into a written oontract to sell
                          hundred sixty-five days (365) days after taking legal tile'

                ;,'       Mnnagement          propertry that is owned by a firm in which any insured has a
                                               of
                                                                                                your business.
                           financial interest or tiy a nrm under the same finanoial contract as


                                                                          mirror that of Endorsement
             Because the language of the exclusions in this endorsement
                                                      the  Policy in order to determine whether these
      n064 (vUZ009), Maxuii r.J*"ru", iE
                                                                                               Firm's
     Ji"rur)|., unai, goo"i*ement Eo67 (r7u2009J, may preclude coverage against Mattress
                                                            '.1gllt:"der
     Lawsuit.

                           4,         Enrlarsenrent f{}5{,          {   tltf,009} : ]{gffsr€p          Rmh.c,m'     S{l4itlqilnl
                                      E4plusiort.s

               pursua*t to Endstsemant S0i0 (l/.112009) ("Mgrtgpee Brokers Additional Exclusions"),
                                                          a duty to dpfend qr lndemnify any claim or
      the Poliey tJoe* not uppfy to, no-t,does Maxum hive
      suit [arieingj out sf or rosultingfioru

                           services performed for properties that are owned, developed or
                                                                                          huilt by
                 l.
                            I   '     anY insured;

                            2,afirminwhichanyinsuredhasfinancialinterest;or
                            3,        a   firm under the same finanoial controt                as   the insured's business.

                                                                                                     or seller
                 Z.         Any transaotion in whioh any insured has a finanoial interest as a buyer
                            ofreal Property,
                                                                         {ltersfore $esi             must be
             These exctusions are also clear and unambigu,ous and,                       -exsiugiors
                                                                         s?7  s.E.2d:at-921,, -And therefore,
      given their literal me6;ing* S$p 1o;.d*mlerl-M-ntuti iqti',flJ,,.,
      govBr4g€.mayb,u**"iuIf;"ffi:s'*rvices.were'.psrformsd.forpr9penles
                                                                had.$ financiai
      rhsr wcre owned by,             1i;;;h"llr*rly,. or rlrrough othei'entities jn. whic.h'.D1itch'
                                                                   and in which Deitch held interests'
      ;il;;;;;,j";i;;ilg i'il;'propefiies'teased m fr{attress Firm         who imposed above-market
      ;il;;ilr"pJi", i'urrriarrllul* uiris"xto *f, olphont'' afld "bogus"
                                                 co.defendant   developers
                                                                              drvelopm.ent fees and
       rent and rease terrns, D"ilrhr" irn'position

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                 950 East Paces Ferry Road Suite         # 2850 . Atlanta, Georgla 30326 p 470,419.6650' I 47A'419,0651
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                                            qffi wlLs                                  ELSER
                                                                       and concealing such acts by
      brokerage fees to developers, and Colliers knowing of, allowing,
      Deitch.

                 Since the allegations      Arnended Camplaint trigger these exclusions, Maxum
                                                  in the
      reservEs its rights unier the P.olicy in order to determine
                                                                   whether these exclusions under
      gnirr*"r"nt fiSO (Illl200g) may preolude            against Mattress Firm's Lawsuit'
                                                 'overagc
                           5.


             pursuant to Endorsem entEglT (31112011) (-rAs-set Ma1*g9rs Additional Exclusions"), the
                                                                      or indemnify any claim or suit
      Policy a*es not uppfy to, no. does Maxum have a duty to defend
      [arising] out of or resulting from:
                 g.         Any transaction in which any insured has a financial interest                          as a buyer or seller.

                                                                                              entitled.
                  10.       Any gain, profit or advantage to which the insuted is not legally

                                    in this endorsement mirror that of other exclusions, including
                 Because the exclusions
      o*riouu-*rotGsns roueid ,in Endorsements E064
                                                        (llll?009), F:067 (11112009), and 8050
                                                                  the'Policv in order to deter'mine'
      iiiiiidoitj,li-J"*;-d abwei Maxurn rssorvie $..1e1r1:,Y*r
      i-il;i., ti*" e*etoeioii "n0". End0r$ern6nr Egtl: #lll20l ,rnay'preclude sovcrags' agiiintt
                                                                l)
       Mattress Firm's Lawsuit.

                            6.         Nssliuenc.g Clnim          SBinst Collierq




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                 950 East Paces Fenv Road Suite # 2850 'Atlanta,
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                             7,        Fxsm,nl$ryIlnnr*u*ff

                In the Lawsuit, Mattress Firm seeks exemplary damages against all the defendants,
        including Colliers and Deitch. However, the Polioy excludes "[a]ny 'claim' or'suit' demanding
        punitive, exemplary or multiple 'damages' ('damages' as a means of punishment), except where
        insurable by law." P056 (0S/l l) at Section I.2.O. As such, Maxum is not required to cover
        exemplary damages if such damages are awarded against Colliers or Deitch. Therefore, Maxum
        specifioally denies coverage for any exemplary damages that may be awarded in favor of
        Mattress Firm and against Colliers or Deitch. See $outhenl v, Sphere:Drlk+ Ins, Co,. I[e;,486
        S.E,2d 674,676 (Ga. App. 1997) (holding that punitive damages exclusion contained in bar's
        general liability policy precluded coverage for punitive damages sought by bar patrons who were
        injured in altercation with bar employees).

                             8.        lP3ivsr/,9*tonnpl

                This Reservation of Rights Letter does not constitute, nor should it be considered, a
        relinquishment by Mgxum of any and all other terms, conditions, exclusions, or other provisions
        of the Policy. Maxum expressly rsserves all of its rights under the Policy, including the right to
        assert additional defonses to any claims for coverage; if subsequent information, allegations, or
        evidence indicate that such action is warranted. Neither anything in this letter, nor any act of
        Maxum, is to be considered as a waiver of any known or unknown defenses either under the
        applicable policy, or the law, by failing to expressly set those out in such letters. Maxum reserves
        the right to rely upon additional defenses as they become known. Maxum further reserves the
        right to supplement, modify and amend its coverage position within this letter as new facts are
        learned or new allegations aro made,

          v.      cor)lcl,{s[ol.Y.

                At this time, Maxum will honor its defense obligations to Colliers under a reservation of
        rights.  Because a request for coverage as to Deitch has not yet been made, Maxum will not
        address whether it will provide ooverage for Deitoh, Please advise immediately if Deitch seeks
        ooverage. In the meantime, Maxum continues to reserve the right to re-evaluate its ourrent
        position and will re-evaluate its current position should additional facts or evidence be
        discovered that would merit supplementation, modification, or amendment of Maxum's position.
        Moxum's Reservation of Rights also inoludes, but is not limited to, the right to withdraw and
        decline coverage to Colliers, and Deitch if applicablc, and to refuse to indemnify Colliers, and
        Deitch if applicable, for any judgment entered against it or settlement negotiated on its bEhalf
        during the Lawsuit. Maxum reserves the right to withdraw from defending Colliers, and Deitoh
        if applioable, at anytime during the Lawsuit and reserves the right to refuse to indemnify, and
        Deitch if applicable, for any judgment entered against it or settlement nogotiated on its behalf
        during the Lawsuit once additional facts or evidenoe are discovered that would merit a
                 950 East Paces F          Road Suite # 2850 'Atlanta                      30326 .       470.41 9.6650. f 4i0,41 9,6651
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                                             \ffi         W"t      t F"g nl. "E*k s "F,R
      subsequer:t fornral denial or clisclaimer af coverage.'
                                                               as.dislussed pbove" We note that any claims
      f"* -.i"tlif*ry dn,n*g"* ure specifieatly  tlcniod under  the Polioy" Should Maxum withdraw from
      ths defense of the t arvs"ii-i!"ynl*-    iuring  the Lawsuit    lv{exurn will provide reasonable notice
                       peitclr         ii
                                  uppriJuuG,   of  Mix.um's   intention.   Fle.ase also note that f,olliers, and
      to Colliers, and
      il*i*h     iiappl,i*able,   U. respansible for rolaining ccunsel a1! nroviding.it: 13fl dsfense
                                      *iff
      costs, fe$s* and expenser irtur"**t withdraws frsm
                                                             defending colliers, and Deitch if appliccble.
      Maxum also resefves the right to      potentially,_ seek   an action-for deolaratory judgment to
                                                                referonced Lawsuit. Maxum reserves the
      determine Maxum's duties with respeot to the above
      ,inrrt tnl*i*rrd'aw from de&nding ctiliers, and   Deitoh   if applioable, should a lawsuit arise or t$'
      iiffi;;;rbtx..i-, in u saparatelorlon, its.*lleged   riglrte_and  ctligr-tioas. And slrquld nlonies cr
                                                                           as well as &mo$rlts insurrsd for
      ilfi;;'#;;'tb;'j;dJof potentiaily non.icverdd              olairns,
                                                            rsservss   the iig}t to seek reimbursement for
      indemnity of non-couer"J             Maxum further
                        amounts.
                                  "ruiinr,
      these monies or
                                                                                                    incorrect or
                  If any of the factrral information rclied upon by us in.this lctter is materially
       if   vou ooss'sli raOitional infonlation or evidenee which you bellev.e,impaets the coverage
                             *nt
                            ;ffi,                                 and the undersigrred, as per the
                             ;bnsc.immeiliatcly contact Maxum
                           'pJricy
       "rirril5-"r,r; 6p
       ffi"h;;;            li      aud by law, Iiinally,  if you have  any. additianal questions or
                                                                the undersigned  immediatelv of the
       ;ffi;til;  ;gardins ;;'6";t"se iosition, plcaie   advise
       basis for your disagreement.

                                                                        Very truly yours,

                                                                        Wilson Elser Moskowitz Edelman & Dicker LLP




                                                                           t?&
                                                                        JeffreY W' Melcher


       cci        James Hogkins, AIC,        $enisr Claims Advpestei Pritchard & Jerden, Sne Atlanta Plaza'
                                                                                     (via Certified Mail)'
                  9;0    tr;i   Pu.*u'Frrry nouJ, Nn, suite 200ff, Atlanta, GA 30326
                                                                                                  AL
                   susan     K. Phillips, RPLU, CRC Insurance services, PO Box 59698, Birmingham,
                   35259-9659 (via Certified Mail)'




                                                         . Atlanta, Georgia              30326'P      470,41 9,6650. f 470.41 9,6651
                  950 East Paces Ferry Road Suite # 2850
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